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IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN

 

 

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DISTRICT OF TENNESSEE
EASTERN DIVISION
RAYMOND CLARK, )
)
Plaintiff, )
) No. 1:04-]300 T/An
VS. )
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CORRECTloNs CoRPoRATION OF ) ‘.F'-`:E § 171
AMERICA, et. al., ) 1;§»?}? §§ clc._‘:J 2
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Defendants. ) 4
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oRDER DENYING PLAINTIFF’s MOTION To sTRIKE DEFENDANT’s ANSWER

 

Plaintiff Raymond Clark (“P]aintiff"), an inmate at Hardeman County Correctional
Facility in Tiptonville, Tennessee, sued Defendants Corrections Corporation of America and
Captain Rod Brandis (“Defendants”) pursuant to 28 U.S.C. § 1983 and other federal laWs.
On July 26, 2005, Defendants answered Plaintiff’ s complaint On August 9, 2005 , Plaintiff

filed a motion that he denominated a “Motion to Strike Defendant’S AnsWer.” For the

following reasons, Plaintiff’s motion is DENIED.

ln a previous order, this court instructed Plaintiff to familiarize himself with the
F ederal Rules of Civil Procedure. Rule lZ(f) of those rules govern a “motion to strike.” §§e
FED. R. CIV. P. lZ(f) (2005). Rule 12(f) authorizes the court to strike from a party’s pleading
“insufficient defense[s]” and/or any “redundant, immaterial, impertinent, or scandalous

matter[s].” §§e E. In his motion, Plaintiff quotes both of the above grounds, but he does

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with ama 58 andrews (a) FHCP on § 5

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not specifically indicate Which defense or defenses of the Answer are “insufficient,” and he
likewise fails to explain when, where, or how the Defendants’ Answer mentions anything
“immaterial, impertinent, or scandalous.” (E Pl.’s Mot. to Strike at il 4).

Pl`aintiff’ s motion also mentions Rules lZ(e) and 56(g) of the F ederal Rules of Civil
Procedure (s_e§ Pl.’s Mot. to Strike at pp. l-Z) as further grounds for court action with
respect to Defendants’ Answer. However, neither rule is applicable in this context.‘

Based on the foregoing, Plaintiff’ s Motion to Strike Defendant’s Answer is DENIED.

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JAMB/S D. TODD
UNITED STATES DISTRICT JUDGE

 

1Rule 56(g) applies in the context of a Motion for Summary Judgment. §ee FED. R. CIV.
P. 56 (2005). No such motion has been filed in this case. Rule 12(e) allows a party to request a
more definite pleading by his adversary. However, the pleading must be one to which a
responsive pleading “is perrnitted” under the rules or by court order. § FED. R. CIv. P. lZ(e),
7(a). Because this court has not ordered a reply to Defendants’ Answer and because the rules do
not otherwise “permit” responses to answers (B FED. R. Clv. P. 7(a)), this is not the proper
context in which to move for a more definite statement

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:04-CV-01300 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

ESSEE

 

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.l ames I. Pentecost

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Honorable .l ames Todd
US DISTRICT COURT

